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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                    SOUTHEASTERN DIVISION

                                                      §       Chapter 11
 In re:                                               §
                                                      §       Case No. 20-43597-399
 BRIGGS & STRATTON                                    §
 CORPORATION, et al.,                                 §       (Jointly Administered)
                                                      §
                    Debtors.                          §       Related Docket No. 1972

                   ORDER SUSTAINING THE PLAN ADMINISTRATOR’S
               APPLICATION FOR AN ORDER PURSUANT TO 11 U.S.C. § 502(c)
               ESTIMATING THE GENERAL UNSECURED CLAIM VALUE OF
                  PROOFS OF CLAIM NUMBERED 466, 468, 1377, AND 1663

                    Upon the application (the “Application”)1 of the Plan Administrator in the above-

 captioned chapter 11 cases for entry of an order pursuant to section 502(c) of the Bankruptcy Code,

 Bankruptcy Rule 3007, and Local Rule 3007(C) estimating the claims listed on Schedule 1

 attached hereto and as more fully set forth in the Application; and upon the Declaration of Alan

 D. Halperin In Support of the Plan Administrator’s Application for an Order Pursuant to 11 U.S.C.

 § 502(c) Estimating the General Unsecured Claim Value of Certain Litigation Claims (attached to

 the Objection as Exhibit B); and this Court having jurisdiction to consider the Application and the

 relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the

 Application and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and

 it appearing that venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and

 the Plan Administrator having represented that adequate and proper notice of the Application has

 been given in accordance with the Omnibus Objection Procedures; and that no other or further




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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Application.
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 notice need be given; and this Court having reviewed the Application; and this Court having held

 a hearing to consider the relief requested in the Application; and this Court having determined that

 the legal and factual bases set forth in the Application establish just cause for the relief granted

 herein; and it appearing that the relief requested in the Application is in the best interests of the

 Plan Administrator and creditors; and upon all of the proceedings had before this Court and after

 due deliberation and sufficient cause appearing therefor, it is hereby ORDERED that the

 Application is GRANTED in that:

                1.      Pursuant to section 502 of the Bankruptcy Code and Bankruptcy Rule 3007,

 the amount of each of the Litigation Claims listed on Schedule 1 annexed hereto is estimated to

 be no more than $2 million each for purposes of distribution by the Wind-Down Estates.

                2.      The Plan Administrator is authorized to estimate each of the Litigation

 Claims at $2 million, solely for purposes of fixing distributions to all creditors in these chapter 11

 cases, with such distributions to be made in accordance with the Plan. In the event the Wind-

 Down Estates are proven to have liability for the Litigation Claims in excess of $2 million, any

 Litigation Claim shall, nonetheless, each be capped at $2 million aggregate for distribution

 purposes.

                3.      The terms and conditions of this Order are effective immediately upon

 entry.

                4.      Nothing contained in the Application or this Order is intended to be or shall

 be deemed as (i) an admission as to the validity of any claim against the Debtors or the Wind-

 Down Estates, (ii) a waiver of rights to dispute the amount of, basis for, or validity of any claim,

 (iii) a waiver of rights under the Bankruptcy Code or any other applicable nonbankruptcy law,

 (iv) an agreement or obligation to pay any claims, (v) a waiver of any claims, defenses or causes



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 of action which may exist against any creditor or interest holder, or (vi) an approval, assumption,

 adoption, or rejection of any agreement, contract, lease, program, or policy under section 365 of

 the Bankruptcy Code.

                5.      The Plan Administrator is authorized to take all actions necessary or

 appropriate to carry out the relief granted in this Order.

                6.      Not later than two (2) business days after the date of this Order, the Plan

 Administrator shall serve a copy of the Order and shall file a certificate of service no later than

 twenty-four (24) hours after service.


 DATED: December 3, 2021
 St. Louis, Missouri                                          Barry S. Schermer
 cke                                                          United States Bankruptcy Judge




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 Order Prepared By:

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 -and-

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                                   SCHEDULE 1

                            Schedule of Litigation Claims




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   Exhibit A-1
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   Briggs & Stratton Corp., et al.




                                                                                                                                                             Asserted
                               Claimant Name and Address              Case Number                 Debtor Name       Claim Number   Date Filed        Claim Amount and Priority
1) Barbara Injeski, on Behalf of Donald Papke, Decd                    20-43597     Briggs & Stratton Corporation       1377       10/5/2020    Secured:                    $0.00
                                                                                                                                                Administrative:             $0.00
   c/o Sara Salger                                                                                                                              Priority:                   $0.00
   The Gori Law Firm                                                                                                                            Unsecured:                  $0.00
   156 N Main Street                                                                                                                            Total:                      $0.00
   Edwardsville, IL 62025

2) Joseph Ward                                                         20-43597     Briggs & Stratton Corporation       468        9/10/2020    Secured:                     $0.00
                                                                                                                                                Administrative:              $0.00
   Dean Ringers Morgan & Lawton PA                                                                                                              Priority:                    $0.00
   201 E. Pine Street, Suite 1200                                                                                                               Unsecured:          $10,000,000.00
   Orlando, FL 32801-3280                                                                                                                       Total:              $10,000,000.00



3) Krista Danyale Ward                                                 20-43597     Briggs & Stratton Corporation       466        9/10/2020    Secured:                     $0.00
                                                                                                                                                Administrative:              $0.00
   201 E. Pine Street, Suite 1200                                                                                                               Priority:                    $0.00
   Orlando, FL 32801-3280                                                                                                                       Unsecured:          $10,000,000.00
                                                                                                                                                Total:              $10,000,000.00



4) Troy Craig, Diana Craig, and Amy Craig                              20-43597     Briggs & Stratton Corporation       1663       10/7/2020    Secured:                     $0.00
                                                                                                                                                Administrative:              $0.00
   David Hart                                                                                                                                   Priority:                    $0.00
   6630 Colleyville Blvd                                                                                                                        Unsecured:          $10,000,000.00
   Colleyville, TX 76234                                                                                                                        Total:              $10,000,000.00




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